              Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 1 of 16




C r a ig H.   D u r h a m                                    J e f f re y Brownson  
Idaho  S t a t e  Bar No . 6428                              Idaho  S t a t e   Bar  No .  7474 
F er g us on  D u r h a m , PLLC                             Law   O f f i c e   of  J ef f r e y  Brownson  
2 2 3  N.   6 t h  Stre e t,  Su i te  325                   223   N o r t h  6th  S t r e e t ,   Suit e  21 5  
B o i s e , Id aho 8 3 7 0 2                                 B o i s e ,  Id aho  8 3 7 0 2 
T :  ( 2 0 8 )‐ 345 ‐ 5183                                   T : ( 2 0 8 )‐ 342‐ 5800 
F:   ( 2 0 8 ) ‐ 906 ‐ 8663                                  F:  ( 2 0 8 ) ‐ 437‐ 8041 
c h d @ f e r g u s o n d u r h a m . c o m                  jb@jef f reybrow n son law.c om  
 
A t t o r n e y s  f o r P l a i n t i f f s 
                                                         

                           IN THE UNITED STATES DISTRICT COURT 

                                            DISTRICT OF IDAHO 

                                                         
    RACHEL CONNELL and RICHARD                               
    CONNELL,                                                 
                                                            Case No.  
                              Plaintiffs,                    
                                                             
         
                                                            CIVIL COMPLAINT 
        v.                                                   
    ANDREW McCLURE, in his                                  DEMAND FOR JURY TRIAL 
    individual capacity; KEVIN ELLIS, in 
                                                                         
    his individual capacity; and 
    LINCOLN COUNTY, IDAHO, a 
    governmental entity acting through its 
    Board of Commissioners, 
                               

                              Defendants. 

                                                         
                                                         
 

CIVIL COMPLAINT ‐ 1
 
            Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 2 of 16



                            INTRODUCTORY STATEMENT 

       1.      Plaintiffs seek damages for former Lincoln County Sheriff’s Deputy 

Andrew McClure’s excessive use of force on 67‐year‐old Rachel Connell and her adult 

son Richard (“Rick”) Connell during a welfare check at Rachel Connell’s home. Rachel 

peacefully and calmly asked to assist her other son, Tad Connell, who had shot himself 

in the arm, when McClure unexpectedly and angrily shoved Rachel out of a door and 

down concrete steps, where she seriously injured her back, shoulder, arms, neck, and 

hands. Moments later, McClure tased Rick Connell multiple times and beat him in the 

back of his head with a conducted electrical weapon (“CEW”) while Rick was lying face 

down on the ground. Both Rachel and Rick suffered significant and lasting physical and 

mental injuries. They bring federal civil rights claims against Deputy McClure, former 

Sheriff Kevin Ellis, and Lincoln County, and a supplemental state law claim against 

Lincoln County.   

                                     JURISDICTION 
 
       2.      The Court has jurisdiction over Plaintiffs’ federal claims under 28 U.S.C. 

§§ 1331 and 1343.  The federal action is authorized by 42 U.S.C. § 1983. 

       3.      The Court has supplemental jurisdiction over the state law claim under 28 

U.S.C. § 1367(a) because it is so related to the federal claims within the Court’s original 

jurisdiction it forms a part of the same case or controversy. 


                                               

CIVIL COMPLAINT - 2
            Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 3 of 16



                                           VENUE 


       4.      The Defendants reside in the District of Idaho, and Plaintiff’s claims for 

relief arose in this District.  Accordingly, venue in the District of Idaho is proper under 

28 U.S.C. § 1391.   

                                          PARTIES 


       5.      Plaintiff Rachel Connell is a resident of the state of Idaho. She lives in 

Lincoln County, Idaho. 

       6.      Plaintiff Richard (“Rick”) Connell is a resident of the state of Idaho. He 

lives in Lincoln County, Idaho. 

       7.      Defendant Andrew McClure was at all relevant times acting under color 

of state law through his employment as a deputy for the Lincoln County, Idaho, 

Sheriff’s Department. On information and belief, he is a resident of the state of Idaho.  

He is sued in his individual capacity for civil rights violations under 42 U.S.C. § 1983. 

       8.      Defendant Kevin Ellis was at all relevant times acting under color of state 

law through his employment as the Sheriff of Lincoln County, Idaho. On information 

and belief, he is a resident of the state of Idaho. He is sued in his individual capacity for 

civil rights violations under 42 U.S.C. § 1983. 

       9.      Defendant Lincoln County is a political subdivision of the state of Idaho 

that was at all relevant times the governmental entity that employed Ellis, McClure, and 

Lincoln County negligently hired, trained, and/or supervised its law enforcement 

CIVIL COMPLAINT - 3
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 4 of 16



officers. Moreover, it had a policy, practice, or custom that was the moving force behind 

the constitutional violations in this case. 

                          FACTS RELEVANT TO ALL CLAIMS 

       10.     About 10:00 p.m. on September 23, 2016, Rick Connell received a call from 

Rachel informing him that his brother, Tad, had accidently shot himself in the shoulder. 

Tad lived in a trailer on the Connell property outside of Shoshone, Idaho.  

       11.     Rick called a family friend, Craig Hadden, who lived nearby Rachel’s 

home that she shares with her partner of 12 years, Mark Hopper.  

       12.     Hadden hurried over to Rachel and Mark’s home, where he found Tad on 

the couch holding a towel to his arm. Tad told Hadden that he had shot himself 

accidently.  Rick and Rick’s wife, Terri, also arrived at the home. 

       13.     Though everyone was concerned about Tad’s welfare, there was no 

continuing risk of self‐harm or violence, and Hadden called 911 because he thought Tad 

may need medical treatment. He told the 911 operator that Tad had shot himself. The 

operator wanted to know the type and caliber of the gun, so Hadden asked Tad, who 

told him it was a .22 caliber handgun and that it was in the trailer.  

       14.     Hadden went to the trailer and found the gun. The action was open, and it 

was empty.  

       15.     Still on the phone with the 911 operator, Hadden told the operator the gun 

was in the trailer and that it was a .22 caliber. Hadden also gave 911 operator the 


CIVIL COMPLAINT - 4
           Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 5 of 16



address to the Connell home. Leaving the gun where it was found, Hadden then locked 

the trailer and went back inside the home. 

       16.    Meanwhile, Lincoln County Sheriff’s Deputy Andy McClure was at 

another call when he and Shoshone city police officer Canterbury were dispatched to 

conduct a welfare check at the Connell home. They left their previous call and drove 

their patrol vehicles to the Connell residence. On the way, dispatch informed them that 

the gunshot was self‐inflicted and that there was nobody else in the trailer.   

       17.    McClure and Canterbury arrived shortly thereafter, where they were 

greeted by Rachel, Rick, Craig Hadden, and Terri. The group informed the officers of 

the situation. The officers immediately entered the home, where they found Tad on the 

couch.  

       18.    McClure and Canterbury ordered everyone out of the house while they 

assessed Tad’s injuries. 

       19.    Over the next several minutes, it became apparent that Tad did not want 

help from the officers. He was passively resistant, though not openly threatening, to 

Deputy McClure’s demand that he be allowed to see where Tad shot himself. Tad 

repeatedly expressed that he did not want help. He said he did not want to go to the 

hospital. McClure told him he had to go. 

       20.    McClure and Canterbury became more forceful.  McClure took out a duty 

knife and began to cut off Tad’s shirt. Tad again passively resisted. 


CIVIL COMPLAINT - 5
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 6 of 16



      21.    McClure’s anger growing, McClure handcuffed Tad and threw Tad on the 

floor forcing him to comply. 

      22.    At this point, Rachel Connell appeared through a back door and took a 

step toward McClure, telling him she could help with her son. She had her hands out 

and was not holding anything. Rachel is a small and frail 67‐year‐old woman, which 

would have been readily apparent to any reasonable observer. 

      23.    McClure, a large man well over 200 pounds, took a few quick strides 

toward her, and shoved her backwards and out the door. McClure slammed the door 

shut and went back to dealing with Tad.  

      24.    Rachel hit her head on the doorjamb, fell backward and down concrete 

steps. She seriously injured her neck, back, and arms. She began shaking vigorously. 

      25.    A few moments later, Office Canterbury went out the back door, where 

Rachel stood a few feet away, crying, shaking and surrounded by Rick, Craig Hadden, 

and Terri. Canterbury was checking on Rachel’s welfare.  The group was upset at 

Rachel’s treatment and loudly complaining to Canterbury.  

      26.    Deputy McClure then appeared at the back door.  He ordered the group 

off their own property. Rick yelled back that it was their property and that McClure 

himself should leave.  

      27.    McClure started to stride toward Rick, shoving others out of the way. Rick 

turned and began to hurry away. McClure took out his taser and tased Rick in the back 


CIVIL COMPLAINT - 6
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 7 of 16



by his shoulder blade. He then grabbed Rick and threw him to the ground, tasing him 

multiple times. McClure then jumped on top of Rick and started beating him in the 

head with his taser, opening a wound. 

       28.    Meanwhile, medical personnel were treating Tad, who was not seriously 

injured by the superficial gunshot wound.  

       29.    Officer Canterbury came over to where McClure had beaten and subdued 

Rick, telling McClure they needed to calm things down. 

       30.    McClure next confronted bystander Craig Hadden. Hadden told McClure 

that he was out of control. McClure responded by grabbing him, turning him around, 

and handcuffing him. McClure then put Hadden in his patrol car. 

       31.    Although Rick was initially detained, McClure took him to an ambulance 

where he then removed the handcuffs. McClure then released Hadden from his patrol 

car. McClure did not arrest Rick, instead telling him and others that he knew he would 

probably be sued. He subsequently handed out his business card. 

       32.    Rick was taken to the hospital where he received numerous stitches as a 

result of the taser being bashed into the back of his head. 

       33.    Deputy McClure failed to record this incident on his body camera, or if he 

did record it, he failed to retain it. But body camera video from Office Canterbury exists 

and has been disclosed to Plaintiffs. 

       34.    Deputy McClure also failed to write any reports of this incident, despite 


CIVIL COMPLAINT - 7
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 8 of 16



using intermediate if not deadly force, in violation of Lincoln County Sheriff’s Office 

policies and procedure. 

       35.    Deputy McClure’s battery on Rachel caused her serious physical injuries 

and persistent mental anguish. She has since had repeated and ongoing medical 

treatments, including surgery, for these injuries.  

       36.    Deputy McClure’s beating of Rick Connell also caused him lasting 

physical injuries and mental anguish. 

       37.    As a result of this incident, Mark Hopper, Rachel’s partner, was required 

to take off approximately two months of work to care for Rachel, causing significant 

financial and emotional distress within the family.  

       38.    On information and belief, Deputy McClure has a history of excessive 

force and of violating standard policies and procedures. Despite that, Lincoln County 

hired, failed to train him adequately, and retained him.  

       39.    On information and belief, not long after this incident Deputy McClure’s 

employment ended with Lincoln County. 

       40.    Rachel Connell and Rick Connell (and Mark Hopper and Terri Connell) 

filed notices of tort claims with Lincoln County on March 20, 2017, within 180 days of 

the incident. Lincoln County did not respond. 

                             




CIVIL COMPLAINT - 8
          Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 9 of 16



                                      CLAIMS FOR RELIEF 

                                                 I. 

                      Rachel Connell against Deputy Andrew McClure 

             Violation of the Right to be Free From Unreasonable Seizures  
                    under the Fourth and Fourteenth Amendments 

                                  42 U.S.C. § 1983: Excessive force 

       41.       Plaintiffs incorporate paragraphs 1 through 40. 

       42.       At all relevant times, Defendant Andrew McClure was acting under color 

of state law. 

       43.       On September 23, 2016, Defendant McClure seized Rachel Connell. 

       44.       In seizing Rachel Connell, Defendant McClure acted intentionally. 

       45.       Deputy McClure lacked reasonable suspicion or probable cause to seize 

Rachel Connell. 

       46.       Defendant McClure’s seizure and use of force against Rachel Connell was 

objectively unreasonable. 

       47.       Defendant McClure’s seizure and unreasonable use of force damaged 

Rachel Connell in an amount to be ascertained at trial. 

                               




CIVIL COMPLAINT - 9
          Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 10 of 16



                                               II. 

                  Richard (“Rick”) Connell against Deputy Andrew McClure 

                 Violation of the Right to be Free From Unreasonable Seizures  
                        under the Fourth and Fourteenth Amendments 

                                42 U.S.C. § 1983: Excessive Force 

        48.       Plaintiffs incorporate paragraphs 1 through 47. 

        49.       At all relevant times, Defendant Andrew McClure was acting under color 

of state law. 

        50.       On September 23, 2016, Defendant McClure seized Rick Connell. 

        51.       Deputy McClure lacked reasonable suspicion or probable cause to seize 

Rick Connell. 

        52.       In seizing Rick Connell, Defendant McClure acted intentionally. 

        53.       Defendant McClure’s seizure and use of force against Rick Connell was 

objectively unreasonable. 

        54.       Defendant McClure’s unreasonable seizure and use of force damaged Rick 

Connell in an amount to be ascertained at trial. 

                                




CIVIL COMPLAINT - 10
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 11 of 16



                                                 III. 

                        Rachel Connell against Sheriff Kevin Ellis 

              Violation of the Right to be Free From Unreasonable Seizures  
                     under the Fourth and Fourteenth Amendments 

                                        42 U.S.C. § 1983 

        55.    Plaintiffs incorporate paragraphs 1 through 54. 

        56.    At all relevant times, Defendant Kevin Ellis was acting under color of state 

law. 

        57.    Defendant Ellis was in a supervisory position to Defendant McClure. 

        58.    The acts of Defendant McClure against Rachel Connell violated her rights 

under the Fourth and Fourteenth Amendments.  

        59.    Defendant Ellis failed to properly train, supervise, or control Defendant 

McClure. 

        60.    Defendant Ellis disregarded the known or obvious consequence that 

Defendant McClure’s lack of training and supervision would cause Defendant McClure 

to violate Plaintiff’s constitutional rights. 

        61.    Alternatively, Defendant Ellis engaged in conduct that showed a reckless 

or callous indifference to the deprivation of the rights of others by Defendant McClure. 

        62.    Defendant Ellis’s acts or omissions damaged Rachel Connell in an amount 

to be ascertained at trial. 

                                

CIVIL COMPLAINT - 11
         Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 12 of 16



                                                 IV. 

                   Richard (“Rick”) Connell against Sheriff Kevin Ellis 

              Violation of the Right to be Free From Unreasonable Seizures  
                     under the Fourth and Fourteenth Amendments 

                                        42 U.S.C. § 1983 

        63.    Plaintiffs incorporate paragraphs 1 through 62. 

        64.    At all relevant times, Defendant Kevin Ellis was acting under color of state 

law. 

        65.    Defendant Ellis was in a supervisory position to Defendant McClure. 

        66.    The acts of Defendant McClure against Rick Connell violated his rights 

under the Fourth and Fourteenth Amendments.  

        67.    Defendant Ellis failed to properly train, supervise, or control Defendant 

McClure. 

        68.    Defendant Ellis disregarded the known or obvious consequence that 

Defendant McClure’s lack of training or supervision would cause Defendant McClure 

to violate Plaintiff’s constitutional rights. 

        69.    Alternatively, Defendant Ellis engaged in conduct that showed a reckless 

or callous indifference to the deprivation of the rights of others by Defendant McClure. 

        70.    Defendant Ellis’s acts or omissions damaged Rick Connell in an amount to 

be ascertained at trial. 

                               

CIVIL COMPLAINT - 12
        Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 13 of 16



                                            V. 

         Rachel Connell and Richard (Rick) Connell against Lincoln County 

                             42 U.S.C. § 1983:  Monell Claim 

                Failure to Train or Supervise Law Enforcement Officers 

       71.    Plaintiffs incorporate paragraphs 1 through 70. 

       72.    Lincoln County is the public entity that governs the Lincoln County 

Sheriff’s Department. 

       73.    Deputy Sheriff Andrew McClure was acting under color of state law. 

       74.    Deputy Sheriff Andrew McClure’s unreasonable seizure and use of force 

violated Rachel Connell’s constitutional rights. 

       75.    Deputy Sheriff Andrew McClure’s unreasonable seizure and use of force 

violated Rick Connell’s constitutional rights. 

       76.    Lincoln County’s policies, practices, or customs were not adequate to train 

or supervise its Sheriff’s deputies to handle the usual and recurring situations with 

which they must deal. 

       77.    Lincoln County was deliberately indifferent to the known or obvious 

consequences of its failure to train or supervise its deputies adequately. 

       78.    Lincoln County’s failure to train or supervise its deputies was the moving 

force behind the constitutional violations to Rachel Connell, Richard Connell, and Mark 

Hopper, which injured and damaged each of them in an amount to be ascertained at 


CIVIL COMPLAINT - 13
           Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 14 of 16



trial. 

                                              VI. 
 
      Rachel Connell and Richard (Rick) Connell against Lincoln County 
                                             
                      Negligent Hiring, Supervision, or Training 
                                             
              Idaho Tort Claims Act, Idaho Code §§ 6‐901 through 6‐929 
                                             
       79.   Plaintiffs incorporate paragraphs 1 through 78. 

          80.   Idaho has waived its sovereign immunity for state law claims seeking 

money damages from governmental entities or their employees, acting within the 

course and scope of their employment, for negligent or other wrongful acts.  Idaho 

Code § 6‐903(a). 


          81.   Lincoln County has a duty to the public, including Plaintiffs, to exercise 

ordinary care in the hiring, training, and supervision of its law enforcement officers. 

          82.   Lincoln County breached its duty to exercise ordinary care in the hiring, 

training, and supervision of Sheriff Kevin Ellis and Deputy Sheriff Andrew McClure. 

          83.   Lincoln County’s breach of its duty to exercise ordinary care to hire, train, 

and supervise its law enforcement officers was the “but for” and proximate cause of 

Plaintiffs’ injuries, which include pecuniary and non‐pecuniary damages and attorney 

fees and costs. 


                               




CIVIL COMPLAINT - 14
               Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 15 of 16



                                      PRAYER FOR RELIEF 


          WHEREFORE, Plaintiffs pray for judgment: 


          1.       Finding and declaring that Plaintiffs’ protected federal and state rights 

were violated as set forth in this Complaint; 


          2.       Awarding Plaintiffs monetary damages, in an amount to be determined at 

trial, that will fully and fairly compensate the Plaintiffs for their injuries and losses, pain 

and suffering, and emotional distress and anguish; 


          3.       Awarding Plaintiffs punitive damages, in an amount sufficient to punish 

Defendants for their evil motive or intent, or for their reckless and callous indifference 

for the constitutional rights of others, and to deter others from like conduct; 


          4.       Awarding Plaintiffs their reasonable attorney fees and costs against 

Defendants under 42 U.S.C. § 1988, Idaho Code §§ 12‐120, 12‐121, and any other 

applicable statutes or rules; 


          5.       Setting a jury trial on all questions of fact or combined questions of law 

and fact raised by this Complaint. 


          6.       Any other relief that the Court deems appropriate. 


    // 


    // 



CIVIL COMPLAINT - 15
          Case 1:18-cv-00066-EJL Document 1 Filed 02/09/18 Page 16 of 16



      SUBMITTED ON THIS 9th day of February 2018. 


       


                                           /s/ Craig H. Durham 
                                           /s/ Jeffrey Brownson 
                                           Attorneys for Plaintiffs 
       
       
       




CIVIL COMPLAINT - 16
